Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 1 of 67




                                  EXHIBIT "1"
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 2 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 3 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 4 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 5 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 6 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 7 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 8 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 9 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 10 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 11 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 12 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 13 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 14 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 15 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 16 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 17 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 18 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 19 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 20 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 21 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 22 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 23 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 24 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 25 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 26 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 27 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 28 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 29 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 30 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 31 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 32 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 33 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 34 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 35 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 36 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 37 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 38 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 39 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 40 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 41 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 42 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 43 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 44 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 45 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 46 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 47 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 48 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 49 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 50 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 51 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 52 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 53 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 54 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 55 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 56 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 57 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 58 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 59 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 60 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 61 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 62 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 63 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 64 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 65 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 66 of 67
Case 1:18-cv-21365-KMW Document 1-1 Entered on FLSD Docket 04/06/2018 Page 67 of 67
